
73 So. 3d 366 (2011)
Conrad CROSS, Appellant,
v.
FLORIDA UNEMPLOYMENT APPEALS COMMISSION and Weiser Security Services, Inc., Appellees.
No. 1D11-3499.
District Court of Appeal of Florida, First District.
November 7, 2011.
Conrad Cross, pro se, Appellant.
A. Robert Whaley, General Counsel, for Appellee Florida Unemployment Appeals Commission, Tallahassee.
PER CURIAM.
DISMISSED. This dismissal is without prejudice to the appellant's right to seek relief in the lower tribunal. Durando v. Palm Beach County, 719 So. 2d 1258 (Fla. 1st DCA 1998).
THOMAS, ROBERTS, and CLARK, JJ., concur.
